                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                        CRIMINAL DOCKET NO.: 5:08CR21-V

UNITED STATES OF AMERICA            )
                                    )
            v.                      )                ORDER
                                    )
WILLIAM DONALD DIXON,               )
                  Defendant.        )
____________________________________)


       THIS MATTER is before the Court on Defendant’s pro se letter Motion For Return of

Property, filed September 17, 2009. (Document #104)          In his motion, Defendant alleges that

various items of personal property were seized, presumably in connection with his arrest, and during

a visit (or admission) at “C.M.C. Hospital” on September 26, 2009. (Def.’s Motion at 2.) As a

result, Defendant now requests that his personal items be returned. Defendant specifically asks that

once the items are located that his father be notified and provided instructions explaining how to

retrieve the property on his behalf. (Def.’s Motion at 2.)

       IT IS, THEREFORE, ORDERED that the Government is directed to respond to the

Defendant’s Motion For Return of Property on or before Friday, December 4, 2009.



                                                 Signed: November 5, 2009




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